                  Case 3:20-cr-00249-RS
DOCUMENTS UNDER SEAL
                                                  Document 60          Filed 07/22/21 Page 1
                                                                          TOTAL TIME (m ins): 3
                                                                                                of 1
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Stephen Ybarra                           11:37 - 11:40
MAGISTRATE JUDGE                         DATE                                     NEW CASE         CASE NUMBER
Alex G. Tse                             July 22, 2021                                             3:20-cr-00249-RS-1
                                                    APPEARANCES
DEFENDANT                                AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.      RET.
Rowland Marcus Andrade                            N        P       Sophia Whiting, specially appears    APPT.
U.S. ATTORNEY                            INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Andrew Dawson                            n/a                                    SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR              PARTIAL PAYMENT
                           Jessica Portillo                        APPT'D COUNSEL                OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                          TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT              BOND HEARING           IA REV PROB. or          OTHER
                                                                                 or S/R
       DETENTION HRG             ID / REMOV HRG           CHANGE PLEA            PROB. REVOC.             ATTY APPT
                                                                                                          HEARING
                                                   INITIAL APPEARANCE
        ADVISED                ADVISED                  NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON             READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT               SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY         SPECIAL NOTES               PASSPORT
      ON O/R            APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                 DETAINED        RELEASED       DETENTION HEARING            REMANDED
      FOR             SERVICES                                                AND FORMAL FINDINGS          TO CUSTODY
      DETENTION       REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                    NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              IDENTIFICATION          BOND                   STATUS RE:
7/28/21                          OF COUNSEL              HEARING                CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.            PRELIMINARY           CHANGE OF               STATUS
                                 AFFIDAVIT                HEARING               PLEA
10:30 AM                                                  _____________
BEFORE HON.                      DETENTION                ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                 HEARING                                                                 SENTENCING
AGT
       TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL               CONFERENCE               HEARING
                                 3161                     HEARING
                                               ADDITIONAL PROCEEDINGS
This proceeding held via Zoom video conference. Defendant consents to proceed by video. Defense attorney Brian Beck
states an appearance. The process of locating new and suitable counsel for the defendant is underway.

                                                                                      DOCUMENT NUMBER:
